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7

8                     IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )            CASE NO. 2:07-CR-0025 EJG
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )            STIPULATION AND
                                   )            ORDER TO EXCLUDE TIME
14   LUP PARK LI, et.al.           )
                                   )
15                                 )
                    Defendants.    )
16   ______________________________)
17

18          The parties request that the status conference in this case
19   be continued from July 30, 2010 to September 10, 2010 at 10:00
20   a.m.    They stipulate that the time between July 30, 2010 and
21   September 10, 2010 should be excluded from the calculation of
22   time under the Speedy Trial Act.         The parties stipulate that the
23   ends of justice are served by the Court excluding such time, so
24   that counsel for the defendant may have reasonable time necessary
25   for effective preparation, taking into account the exercise of
26   due diligence.    18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.
27   Specifically, all defense counsel have been provided with
28   approximately 3600 pages of discovery, including CD’s, DVD’s and

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1    VHS tapes.   All counsel need additional time to prepare the
2    matter further, review the discovery provided and continue their
3    investigation of the matter.
4         Additionally, all parties stipulate that this matter is
5    complex within the meaning of 18 U.S.C. § 3161(h)(7)(B)(ii) and
6    Local Code T-2, and because of the nature of the prosecution and
7    the number of defendants, it is unreasonable to expect adequate
8    preparation for pretrial proceedings or trial itself within the
9    time limits established by 18 U.S.C. § 3161.       This matter was
10   previously found complex by the U.S. Magistrate during the
11   initial appearances of each defendant and by this Court by
12   stipulation of the parties during the last status conference on
13   December 11, 2009.
14        The parties stipulate and agree that the interests of
15   justice served by granting this continuance outweigh the best
16   interests of the public and the defendant in a speedy trial.          18
17   U.S.C. § 3161(h)(7)(A).
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19                                          Respectfully Submitted,
20                                          BENJAMIN B. WAGNER
                                            United States Attorney
21

22   DATE: July 23, 2010              By:    /s/ Heiko P. Coppola
                                            HEIKO P. COPPOLA
23                                          Assistant U.S. Attorney
24

25   DATE: July 23, 2010                     /s/ Geoffrey Rotwein
                                            GEOFFREY ROTWEIN
26                                          Attorney for Defendant Lup
                                            Park Li
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1                                               /s/ Gilbert Eisenberg
                                               GILBERT EISENBERG
2                                              Attorney for Defendant Joyce
                                               Wang
3
                                                /s/ Gilbert Roque
4                                              GILBERT ROQUE
                                               Attorney for Defendant Khin
5                                              Ung
6                                               /s/ Phil Schnayerson
                                               PHIL SCHNAYERSON
7                                              Attorney for Defendant Lian Z.
                                               Li
8
                                                /s/ Scott Sugarman
9                                              SCOTT SUGARMAN
                                               Attorney for Defendant Zhi
10                                             Yong Lin
11                                             SO ORDERED.
12

13   DATE:     July 22, 2010
                                               /s/ Edward J. Garcia
14                                             EDWARD J. GARCIA
                                               Senior U.S. District Judge
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